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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

EDRIN ALLEN                                                                         PLAINTIFF

VS.                                    NO. 2:20-cv-132 BSM

GIBBS FERGUSON in his official capacity as                                      DEFENDANTS
City Attorney for McGehee; LARRY ALLEN
in his official capacity as Sheriff for Desha County;
SARAH FARRAR-PHILLIPS in her official
capacity as Chief Clerk of the 27th State District Court
(McGehee Department); and HENRY PENNY

                            Plaintiff’s Response to Motion to Dismiss

       Plaintiff Edrin Allen, states the following as his Response to Defendant Ferguson’s Motion

to Dismiss:

       1.       The Court should deny Defendant Ferguson’s Motion to Dismiss.

       2.       This action is not barred under the common law doctrine of de injuria. The Motion

does not define this concept or how it applies to this case. Bouvier Law Dictionary defines “de

injuria” as “of his own wrongdoing” or “the idea of an intentional, unexcused, and unjustified

harm.” Bouvier Law Dictionary, Stephen Michael Sheppard (2015). Plaintiff is in no way

responsible for the constitutionality of Ark. Code Ann. § 18-16-101. It would be difficult if not

impossible to challenge the constitutionality of criminal statutes if such those were barred under

de injuria.

       Wherefore, Plaintiff pays that Defendant Ferguson’s Motion to Dismiss be denied and for

all other relief that may be proper.

                                                    Respectfully submitted,
                                                    /s/ Amy Pritchard
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